
232 Md. 653 (1963)
194 A.2d 284
KIAH
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 31, September Term, 1963.]
Court of Appeals of Maryland.
Decided October 17, 1963.
Before HENDERSON, HAMMOND, HORNEY, MARBURY and SYBERT, JJ.
PER CURIAM:
For the reasons stated by Judge Grady in the lower court, the application of Paul Ernest Kiah for leave to appeal from the order denying him post conviction relief from his imprisonment for three armed robberies is hereby denied.
The unsupported statement of the applicant that his court-appointed post conviction counsel was incompetent (as he had also charged with respect to his trial counsel) is insufficient to constitute a ground for relief.
Application denied.
